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AO 245B (Rev. 06/05) (Rev DC 12/15/05) Judgment tin a Criminal Case
Sheet |

UNITED STATES DISTRICT COURT
for the District of Columbia

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
FILED
JASON WRIGHT Case Number: (CR 09-311
APR 15 2010

USM Number: 30069-016

Timothy Maloney and Jason Levine U.S. DISTRICT COURT

 

Defendant's Attorney

THE DEFENDANT:
[¥ pleaded guilty to count(s) _1 of the Information filed on 11/23/09.

 

L] pleaded nolo contendere to count(s)

 

which was accepted by the court.

CF] was found guilty on count(s)

 

after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 USC 2252A(a)(5)(B) Possession of Child Pronography 11/12/07 through 1
and (b)(2) and 2256(8) 1/14/08
The defendant is sentenced as provided in pages 2 through 9 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
(1) The defendant has been found not guilty on count(s)

 

(1) Count(s) is/are dismissed on the motion of the United States.

 

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

March 30, 2010

Date of Imposition of Judgment

Elon S Mcye

Signature of Judge

 

Ellen Segal Huvelle U.S. District Court Judge
Name of Judge Title of Judge

tly LO)

Date | J

 

 

W)
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AO 245B (Rev. 06/05) Judgment in a Criminal Case

DEFENDANT: JASON WRIGHT

Sheet 4—Probation
Judgment—Page 2 of 9

 

CASE NUMBER: CR 09-311

PROBATION

The defendant is hereby sentenced to probation for a term of :

Five (5) years

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.

O

The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

L] The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
iw The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
(] The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)
CL] The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
If this Judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions

on the attached page.

1)
2)

3)
4)
5)

6)
i)

8)
9)

10)

11)
12)

13)

STANDARD CONDITIONS OF SUPERVISION

the defendant shall not leave the judicial district without the permission of the court or probation officer;

the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each month;

the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
the defendant shall support his or her dependents and meet other family responsibilities;

the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement.
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AO 245B (Rev. 06/05) Judgment in a Criminal Case
Sheet 4C — Probation

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DEFENDANT: JASON WRIGHT
CASE NUMBER: CR 09-311

SPECIAL CONDITIONS OF SUPERVISION

DNA Sample Requirement - Pursuant to 42 USC § 14135a, for all felony offenses, you shall submit to the collection and
use of DNA identification information while incarcerated in the Bureau of Prisons, or at the direction of the U.S. Probation
Office.

Computer Search - You shail submit to periodic unannounced examinations of your computer by the Probation Office
and/or authorized probation service representative, which may include retrieval and copying of all data from the computer
and any internal or external peripherals to ensure compliance with this condition and/or removal of such equipment for the
purpose of conducting a more thorough inspection. You shall allow installation of any hardware of software systems to
monitor your computer use and shall pay for the cost of such monitoring equipment.

Computer Restriction - You will not possess, or use, any data encryption technique or program and will refrain from
accessing, via a computer, any material that relates to the activity in which you were engaged when committing the instant
offense. You will maintain a daily log of all addresses accessed by way of any computer, other than those authorized for
employment, and you will make the log available to the Probation Office for review. You will consent to third party
disclosure to any employer or potential employer, concerning any computer related restrictions that are imposed upon you.

Computer/Internet Excess Restriction - You will not possess or use a computer that has access to any "on-line computer
service" at any location, including your place of employment, without the prior written approval of the Probation Office.
"On-line computer service" includes, but is not limited to, any Internet service provider, bulletin board system, or any other
public or private computer network.

Sex Offender Treatment - You are to be evaluated for possible participation in a mental health program specifically related
to sexual offender therapy, as approved by the Probation Office. You will also abide by all program rules, requirements
and conditions, which may include, but is not limited to, submission to periodic and random polygraph testing,
plethysmograph examinations, and ABEL Assessment, as directed by the Probation Office. You shall pay for all expenses
associated with the treatment services if such services are desired to be necessary

Association Restrictions - You shall not associate or reside with any known sex offender.

Employment Restriction - You will not be employed in any capacity or participate in any volunteer activity, other than the
Goatman Hollow, that involves contact with minors under the age of 18, except under circumstances approved in advance
and in writing by the Court.

Sex Offender Registration - You shall comply with the Sex Offender Registration requirements for convicted sex offenders
in any state or jurisdiction where you reside, are employed, carry on a vacation, or are a student.

Paraphernalia Restrictions - Without the prior approval of the Probation Office, you shall not possess any pornographic, or
sexually oriented materials, including visual, auditory, telephonic, or electronic media, and/or computer programs or
services that are relevant to your offense conduct or behavioral pattern relating to child pornography and you shall not
patronize any place where pornography or erotica can be accessed or is expressly offered, obtained or viewed, including
establishments where sexual entertainment is available (e.g. adult bookstores, peep shows, or adult entertainment
establishments).

Mental Health Treatment - You shall continue to participate in mental heath treatment and provide a release so that the
probation can monitor your compliance.

Community Service - The defendant shall perform 600 hours of community service, as approved and directed by the
Probation Office.
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AO 245B (Rev. 06/05) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

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DEFENDANT: JASON WRIGHT
CASE NUMBER: CR 09-311

CRIMINAL MONETARY PENALTIES

Assessment Fine Restitution
TOTALS $ 100.00 $ $
L] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.
[] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately 1 PED ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ 0.00 $ 0.00

CL] Restitution amount ordered pursuant to plea agreement $

[] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
[1 the interest requirement is waived forthe [J fine ([] restitution.

(J the interest requirement forthe (] fine [C1 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B — (Rev. 06/05) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

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DEFENDANT: JASON WRIGHT
CASE NUMBER: CR 09-311

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:
A  [¥ Lumpsum payment of $ _ 100.00 due immediately, balance due

[] not later than , or
in accordance {lc OD,  E,or i F below; or

(1 Payment to begin immediately (may be combined with [JC, LJ] D,or [JF below); or
C (Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D [0 Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E  [] Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F Mw Special instructions regarding the payment of criminal monetary penalties:

Special Assessment due immediately.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

C1 Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

LJ The defendant shall pay the cost of prosecution.

O

The defendant shall pay the following court cost(s):

L] The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
